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               UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
      IN RE:                                                        Case No.:20−10195−jal
      Phillip Clay Huckelby
      and Lisa Susan Huckelby
                                                                    Chapter: 7
                                 Debtor(s)                          Judge: Joan A. Lloyd




                                             NOTICE
      TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

      Please be advised that the following matter has been Entered by the Court on this date:

      Notice concerning Section 341 Meeting. Effective immediately, all in−person chapter 7,
      12, and 13 section 341 meetings scheduled through April 10, 2020, are hereby
      continued until a later date to be determined. Absent special circumstances, section 341
      meetings may not proceed during this period except through telephonic or other
      alternative means not requiring personal appearance by debtors. Appropriate notice will
      be provided to parties in accordance with bankruptcy law and rules. Meetings already
      noticed as telephonic meetings may proceed as scheduled. (Merrill, Charles)



      Dated: 3/18/20
                                                           FOR THE COURT
      By:                                                  Elizabeth H. Parks
      Deputy Clerk                                         Clerk, U.S. Bankruptcy Court
